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UNITED STATES DISTRICT COURT
DISTRICT OF RHODE ISLAND

UNITED STATES OF AMERICA
V. CR 04-101 ML

JOEL TRINIDAD
MEMORANDUM AND ORDER

This matter is before the Court on Defendant’s Motion for Sentence Reduction.
Defendant makes his claim based on the recent amendment to the United States
Sentencing Guidelines’ guideline on crack cocaine offenses made to apply retroactively
to defendants sentenced prior to the amendment. As the government points out,
however, Defendant was sentenced to the minimum sentence mandated by statute.
The guideline amendment, therefore, affords him no relief. Accordingly, the Motion is

DENIED.

SO ORDERED:

Mary M. Uisi
United States District Judge
October 70 , 2008
